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  12 Counsel for Bradley D. Sharp,
     Permanent Receiver
  13
                           UNITED STATES DISTRICT COURT
  14
                         CENTRAL DISTRICT OF CALIFORNIA
  15
                         WESTERN DIVISION – LOS ANGELES
  16
     SECURITIES AND EXCHANGE              Case No. 2:19−cv−02188−DSF−MRW
  17
     COMMISSION,                          Hon. Dale S. Fischer
  18
                     Plaintiff,           NOTICE OF MOTION AND MOTION
  19
                                          OF RECEIVER FOR APPROVAL OF:
  20         v.
                                            (1) DISTRIBUTION PLAN;
  21
     DIRECT LENDING INVESTMENTS             (2) RISING TIDE DISTRIBUTION
  22 LLC,                                       METHODOLOGY WITH
                                                RESPECT TO DLIF INVESTOR
  23
                   Defendant.                   CLAIMS;
  24                                        (3) PROPOSED INTERIM
  25                                            DISTRIBUTION; AND
                                            (4) NOTICE OF DISTRIBUTION
  26                                            PLAN
  27
  28                                     1
        NOTICE OF MOTION AND MOTION OF RECEIVER FOR APPROVAL OF DISTRIBUTION PLAN;
        RISING TIDE DISTRIBUTION METHODOLOGY WITH RESPECT TO DLIF INVESTOR CLAIMS;
                      PROPOSED INTERIM DISTRIBUTION; AND NOTICE OF DISTRIBUTION PLAN
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   1                                              MEMORANDUM OF POINTS AND
   2                                              AUTHORITIES AND SUPPORTING
                                                  DECLARATION FILED HEREWITH
   3
   4                                              Date: December 21, 2020
                                                  Time: 1:30 PM
   5                                              Place: Courtroom 7D
   6                                                     United States District Court
                                                         Western Division
   7                                                     350 West 1st Street,
   8                                                     Los Angeles, CA 90012

   9
  10
  11
             PLEASE TAKE NOTICE THAT on December 21, 2020, at 1:30 p.m. in
  12
       Courtroom 7D of the above-entitled Court, located at 350 West 1st Street, Los
  13
       Angeles, CA 92701-4516, a hearing has been scheduled on the Motion of Receiver
  14
       for Approval of (1) Distribution Plan; (2) Rising Tide Distribution Methodology With
  15
       Respect to DLIF Investor Claims; (3) Proposed Interim Distribution; and (4) Notice
  16
       of Distribution Plan (the “Motion”), filed by Bradley D. Sharp, the Court-appointed
  17
       permanent receiver (the “Receiver”) for the estate of Direct Lending Investments,
  18
       LLC (“DLI”), Direct Lending Income Fund, L.P. (“DLIF”), Direct Lending Income
  19
       Feeder Fund, Ltd. (“DLIFF”), DLI Capital, Inc., DLI Lending Agent, LLC, DLI
  20
       Assets Bravo LLC (“DLIAB”), and their successors, subsidiaries and affiliated
  21
       entities (collectively, the “Receivership Entities”) pursuant to the Preliminary
  22
       Injunction Order and Order Appointing Permanent Receiver issued April 1, 2019
  23
       (“Receiver Order”) (Doc. No. 10).
  24
             By this Motion, the Receiver seeks an order for the following relief:
  25
                   1. For approval of the Distribution Plan proposed by the Receiver and
  26
       attached as Exhibit “2” to the Declaration of Bradley D. Sharp in support of the Motion.
  27
       A copy of the Receiver’s Distribution Plan is available for review at the Receiver’s
  28                                         2
         NOTICE OF MOTION AND MOTION OF RECEIVER FOR APPROVAL OF DISTRIBUTION PLAN;
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   1 Claims Agent website: https://case.stretto.com/dli/civildocket. The Distribution Plan,
   2 once approved by the Court, will dictate the process by which assets of the Receivership
   3 Entities will be distributed.
   4          The Distribution Plan divides the classes of claimants into the following general
   5 categories and provides for the following priority treatment:
   6          Class 1: Administrative Professional Fees and Claims 1 – to be paid in full up to the
   7 Allowed Amount of the Claims;
   8          Class 2: Priority Claims – to be paid in full up to the Allowed Amount of the
   9 Claims;
  10          Class 3: DLIFF’s Allowed Claim pursuant to DLIFF Claims Stipulation - To share
  11 the funds remaining after payment of Classes 1 and 2, to be split on a pro rata basis with
  12 Class 4 DLIF Investor Claims pursuant to the DLIFF Claims Stipulation;
  13          Class 4: DLIF Administrative Claims (4A) and DLIF Investor Claims (4B) – To
  14 share the funds remaining after payment of Classes 1 and 2, to be split on a pro rata basis
  15 with Class 3 DLIFF Claim pursuant to the Claims Stipulation. Class 4A will be paid up
  16 to the full amount of such Allowed DLIF Administrative Claims from distributions made
  17 in respect of the DLIF Claim under the Claims Stipulation prior to payment to Class 4B.
  18 Class 4B shall receive distribution of the remaining funds in Class 4 and distribution to
  19 Class 4B Investors shall be made pursuant to the Rising Tide methodology;
  20          Class 5: Allowed General Unsecured Creditors – to receive distribution only upon
  21 payment in full of Classes 1, 2, 3 and 4, and to be paid pro rata with Classes 6 and 7;
  22          Class 6: Allowed Indemnity Claims – to receive distribution only upon payment in
  23 full of Classes 1, 2, 3, and 4, and to be paid pro rata with Classes 5 and 7;
  24          Class 7: Allowed Counter-Party Claims – to receive distribution only upon
  25 payment in full of Classes 1, 2, 3, and 4, and to be paid pro rata with Classes 5 and 6.
  26
       1
  27    Capitalized terms not defined herein have the same meanings assigned to them in
       the proposed Distribution Plan.
  28                                           3
           NOTICE OF MOTION AND MOTION OF RECEIVER FOR APPROVAL OF DISTRIBUTION PLAN;
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   1                2. For approval of distribution to DLIF Investors in Class 4B based
   2 upon an equitable pro rata methodology called Rising Tide, that is, distributions will be
   3 made in an attempt to equalize the percentage of invested funds that are returned to each
   4 DLIF Investor without regard for whether those funds were returned by the perpetrators
   5 of the fraud pre-Receivership or paid under the Distribution Plan. This method provides
   6 for distributions to those investors who have yet to recover as much as all other investors.
   7 For further details, please consult the Distribution Plan.
   8                3. For approval of the proposed interim distribution of $150 million
   9 pursuant to the terms of the Distribution Plan.
  10                4. For an order approving the form of notice on the Motion provided
  11 to interested parties, creditors, and investors, who are potential creditors of the estate,
  12 by the Receiver (a) serving the Motion and related moving papers on all parties to the
  13 action; (b) serving by mail a notice of hearing on the Motion to all known creditors
  14 pursuant to Local Civil Rule 66-7; (c) posting a copy of the Motion on the Receiver’s
  15 website for the case at https://cases.stretto.com/dli; and (d) causing Bankruptcy
  16 Management Solutions dba Stretto to provide by email a copy of the notice of hearing
  17 on the Motion to all known investors through its email service regularly used to
  18 provide notices and documents to investors pursuant to the applicable governing
  19 documents for DLIF and DLIFF, as sufficient notice and opportunity for hearing on
  20 the Motion under the circumstances.
  21         The Motion is made following the Receiver’s communications with counsel
  22 for the Securities and Exchange Commission under Local Rule 7-3, and the Receiver
  23 is informed that the SEC generally does not oppose the relief sought. A judgment of
  24 liability has been entered against the sole defendant DLI, which is under the
  25 supervision and control of the Receiver, making a conference with that entity
  26 unnecessary. Defendant DLI, the only other party to the action, has consented to
  27 entry of a bifurcated judgment as to liability but not damages, and given the
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         NOTICE OF MOTION AND MOTION OF RECEIVER FOR APPROVAL OF DISTRIBUTION PLAN;
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   1 Receiver’s appointment over the defendant, defendant DLI has no practical interest
   2 in the relief sought distinct from the Receiver. The Receiver has also communicated
   3 with Chris Johnson, one of the Joint Official Liquidators over the Off Shore Feeder
   4 Fund, and the Joint Official Liquidators do not oppose the relief sought. There are
   5 numerous interested parties served with the Motion, making a pre-filing conference
   6 with the other interested parties impracticable.
   7         This Motion is based upon this Notice of Motion and Motion, the
   8 Memorandum of Points and Authorities, and the Declaration of Bradley D. Sharp
   9 filed concurrently, the separately-filed Notice of Hearing, the pleadings, records, and
  10 file of the Court in this action of which the Receiver requests the Court take judicial
  11 notice pursuant to Rule 201 of the Federal Rules of Civil Procedure, and upon such
  12 further oral argument, testimony and evidence as may be received at the hearing on
  13 this matter.
  14         PLEASE TAKE FURTHER NOTICE that pursuant to Local Rule 7-9, any
  15 party who opposes the Motion must, not later than 21 days before the date of the
  16 hearing on the motion, serve upon all other parties and file with the Clerk either (a)
  17 the evidence upon which the opposing party will rely in opposition to the motion and
  18 a brief but complete memorandum which shall contain a statement of all the reasons
  19 in opposition thereto and the points and authorities upon which the opposing party
  20 will rely, or (b) a written statement that that party will not oppose the motion.
  21 Evidence presented in all opposing papers shall comply with the requirements of
  22 L.R. 7-6, 7-7 and 7-8.
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        NOTICE OF MOTION AND MOTION OF RECEIVER FOR APPROVAL OF DISTRIBUTION PLAN;
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   1 DATED: November 20, 2020          DIAMOND McCARTHY LLP
   2                                   By: /s/ Kathy Bazoian Phelps
                                           Kathy Bazoian Phelps
   3                                       Counsel for Bradley D. Sharp,
   4                                       Permanent Receiver
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        NOTICE OF MOTION AND MOTION OF RECEIVER FOR APPROVAL OF DISTRIBUTION PLAN;
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